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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DAMIEN GUEDES                                    :
         Civil Rights Defense Firm, P.C.         :
         646 Lenape Road                         :
         Bechtelsville, PA 19505                 :
                                                 :
FIREARMS POLICY COALITION, INC.,                 :
              4212 North Freeway Boulevard       :   Civil Action No. 1:18-cv-2988
              Sacramento, CA 95834               :
                                                 :
                                                 :
FIREARMS POLICY FOUNDATION                       :
              4212 North Freeway Boulevard       :
              Sacramento, CA 95834               :   Complaint – Violations of the
                                                 :   Administrative Procedures Act,
              and                                :   U.S. Constitution and Statutory law
                                                 :
MADISON SOCIETY FOUNDATION, INC.                 :
              210 South Sierra Avenue, Suite 204 :
              Oakdale, CA 95361                  :
                                                 :
                             Plaintiffs          :
              v.                                 :
                                                 :
BUREAU OF ALCOHOL, TOBACCO,                      :
FIREARMS AND EXPLOSIVES, an agency               :
of the Department of Justice                     :
              99 New York Avenue, N.E.,          :
              Washington, DC 20226               :
                                                 :
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MATTHEW WHITAKER, in his official                 :
  capacity as purported Acting Attorney General :
  of the United States                            :
              United States Department of Justice :
              950 Pennsylvania Avenue, NW         :
              Washington, DC 20530                :
                                                  :
THOMAS E. BRANDON, Acting Director                :
Bureau of Alcohol, Tobacco, Firearms, and         :
Explosives                                        :
              99 New York Avenue, N.E.,           :
              Washington, DC 20226                :
                                                  :
UNITED STATES OF AMERICA,                         :
              United States Attorney’s Office     :
              555 4th Street, NW                  :
              Washington, DC 20530                :
                                                  :
                              Defendants          :

                                        COMPLAINT

       COMES NOW, Plaintiffs Damien Guedes, Firearms Policy Coalition, Inc. (“FPC”),

Firearms Policy Foundation (“FPF”), and Madison Society Foundation, Inc. (“MSF”), by and

through their attorneys, Adam Kraut, Esq. and Joshua Prince, Esq., of Firearms Industry

Consulting Group, a division of Civil Rights Defense Firm, P.C., and complain of Defendants as

follows:



                                      INTRODUCTION

1.     This is an action challenging the Bureau of Alcohol, Tobacco, Firearms and Explosives’

       (“ATF”) implementation and enforcement of an agency regulation under Docket No.

       ATF-2017R-22 (“Final Rule”), designed to prohibit as criminal the ownership,

       possession or transportation of “bump-stock-type” devices by redefining them as

       “machineguns” for purposes of the criminal proscriptions under the National Firearms




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     Act (“NFA”) 26 U.S.C. § 5841, et seq., and the Gun Control Act (“GCA”) 18 U.S.C. §

     921, et seq. See 83 Fed.Reg. at 13442; https://www.regulations.gov/document?D=ATF-

     2018-0002-0001. Indeed, the effect of the Final Rule is that all “current possessors of

     these devices would be required to surrender them, destroy them, or otherwise render

     them permanently inoperable upon the effective date of the [F]inal [R]ule.” 83 Fed. Reg.

     at 13442.

2.   ATF’s Notice of Proposed Rulemaking comes after years of public pronouncements and

     formal rulings in which the agency declared these very same types of devices are not

     “machineguns” and therefore are not subject to the criminal regulation that ATF now

     seeks to establish. These were representations of a government agency on which the

     public was entitled to do and did reasonably rely in purchasing, possessing, and using

     these devices.

3.   ATF’s abrupt about-face on this issue in promulgating and implementing the Final Rule

     to criminalize that which it had for years expressly deemed legal under the law of

     Congress inherently smacks of agency abuse or dereliction of duty in following the law.

     See Center for Science in Public Interest v. Department of Treasury, 573 F. Supp. 1168,

     1172 (D.C. 1983) (“sudden and profound alterations in an agency’s policy constitute

     ‘danger signals’ that the will of Congress is being ignored”).

4.   And, in fact, as Plaintiffs’ complaint demonstrates, ATF’s Final Rule is the product of

     serious, multi-dimensional legal violations rendering the process and the rule invalid,

     including, inter alia: ATF’s procedural process violated the Administrative Procedure

     Act (“APA”), 5 U.S.C. § 500, et seq., in numerous material ways; ATF’s Final Rule

     significantly exceeds its statutory authority to promulgate regulations for purposes of




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     implementing or enforcing the NFA or the GCA; any implementation or enforcement of

     the Final Rule would violate the fundamental constitutional protections against

     retroactive imposition of criminal punishment under ex post facto principles; it would

     constitute an unconstitutional taking without just compensation; and it would amount to a

     violation of the Contracts Clause by destroying the very reasonable investment-backed

     expectations that ATF itself established through its previous contrary determinations that

     the devices at issue are not “machineguns.”

5.   What is more, in connection with its failure or refusal to provide for the proper form of

     public discourse before adopting the Final Rule (as one of the many ways in which ATF

     flouted the requirements of the APA), ATF failed or refused to respond to Plaintiff FPF’s

     valid request for pertinent information under the Freedom of Information Act (“FOIA”),

     such that this Court’s intervention is also necessary to compel ATF to produce the

     records it was legally required to produce not only during the rulemaking process but also

     in response to the FOIA request.

6.   Accordingly, the declaratory, injunctive, and other relief requested herein is necessary to

     prevent the implementation or enforcement of this illegal regulation or, at a minimum, to

     fairly compensate for the effective destruction of the property rights that any

     implementation or enforcement would cause in forcing the dispossession of bump-stock-

     type devices that ATF itself previously sanctioned as lawful firearm devices.


                                         PARTIES

7.   Plaintiff Damien Guedes is a natural person, and a citizen of Whitehall, Pennsylvania and

     the United States, and a member of institutional Plaintiffs FPC and FPF. Mr. Guedes

     purchased an AR15 BFSystem bump stock on October 30, 2014, from Bump Fire



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     Systems (“BFSystem”) in reasonable reliance upon one of ATF’s previous letter rulings

     expressly determining that “bump-stock” devices of that type do not convert

     semiautomatic firearms into “machineguns” under the NFA and GCA. Plaintiff Guedes

     desires, and asserts that he would be entitled, to continue lawful possession and/or

     transportation of this bump-stock device but for the Final Rule.

8.   Plaintiff FPC is a 501(c)(4) non-profit organization incorporated under the laws of

     Delaware. FPC serves its members and the public through direct legislative advocacy,

     grassroots advocacy, legal efforts, research, education, operation of a Hotline, and other

     programs. The purposes of FPC include defending the United States Constitution and the

     People’s rights, privileges, and immunities deeply rooted in the Nation’s history and

     tradition, especially the fundamental right to keep and bear arms. On January 25, 2018,

     FPC submitted comments in response to ATF’s “Advanced Notice of Proposed

     Rulemaking” (ANPR) concerning the Final Rule. (Docket ID ATF-2018-0001). On June

     19, 2018, by and through counsel, FPC submitted comments in response and opposition

     to ATF’s later Notice of Proposed Rulemaking (NPRM) concerning the Final Rule. FPC

     represents its members and supporters, including those who own and possess “bump-

     stock-type devices” that are or would be subject to criminal sanction and/or other

     improper deprivation of liberty or property interests with the implementation and/or

     enforcement of the Final Rule, and FPC brings this action on behalf of itself, its

     members, supporters who possess all the indicia of membership, and similarly situated

     members of the public, including Plaintiff Guedes.

9.   Plaintiff FPF is a 501(c)(3) non-profit organization incorporated under the laws of

     Delaware. FPF’s mission is to protect and defend the Constitution of the United States




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      and the People’s rights, privileges and immunities deeply rooted in this Nation’s history

      and tradition, especially the inalienable, fundamental, and individual right to keep and

      bear arms, and any related charitable and educational activities as permissible under law.

      On June 19, 2018, by and through counsel, FPF submitted comments in response and

      opposition to Defendant ATF’s NPRM concerning the Final Rule. FPF is also the party

      who filed the FOIA request regarding the Final Rule, to which ATF never responded.

      FPF represents its members and supporters, including those who own and possess “bump

      stock” devices that are or would be subject to the challenged Final Rule, and FPF brings

      this action on behalf of itself, its members, supporters who possess all the indicia of

      membership, and similarly situated members of the public, including Plaintiff Guedes.

10.   Plaintiff MSF is a (501)(c)(3) non-profit organization incorporated under the laws of

      Nevada. MSF’s mission is to promote and preserve the purposes of the Constitution of

      the United States, in particular the right to keep and bear arms, for its members and all

      citizens. MSF believes that individual constitutional rights should not be infringed to

      deny citizens their life, liberty, and pursuit of happiness. MSF is headquartered in

      Stanislaus County, California. The focus of MSF’s litigation efforts is challenging

      violations of the right to keep and bear arms. Defendants’ actions and failures alleged

      herein have caused MSF to dedicate resources that would otherwise be available for other

      purposes to protect the rights and property of its members, supporters, and the general

      public, including by and through this action.

11.   Defendant ATF is the federal government agency responsible for promulgating and

      enforcing regulations under the statutory provisions of the GCA and the NFA on which

      ATF has relied as the ostensible basis for its authority to issue the Final Rule.




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12.    Defendant Matthew Whitaker (“Attorney General” or “Whitaker”) is the purported

       Acting Attorney General of the United States,1 and he is sued in that official purported

       capacity. As purported Attorney General, Defendant Whitaker is responsible for

       executing and administering the laws, regulations, customs, practices, and policies of the

       United States including the implementation and enforcement of the Final Rule. As

       Attorney General, Defendant Whitaker is ultimately responsible for supervising the

       functions and actions of the United States Department of Justice, including the ATF,

       which is an arm of the Department of Justice.

13.    Defendant Thomas E. Brandon (“ATF Director” or “Brandon”) is the Acting Director of

       the Bureau of ATF, and he is sued in the that official capacity. ATF is responsible for,

       inter alia, regulating and licensing the sale, possession, transfer, and transportation of

       firearms and ammunition in interstate commerce, including “machineguns” as that term is

       defined under the NFA, GCA, and any purported agency regulations of ATF. As Acting

       Director of ATF, Defendant Brandon is responsible for the creation, implementation,

       execution, and administration of the laws, regulations, customs, practices, and policies of

       the United States, including implementation and enforcement of the Final Rule.

14.    Defendant United States of America (“United States”) is a proper party in this action

       pursuant to 5 U.S.C. §§ 702, 703.


                                     JURISDICTION AND VENUE

15.    This case concerns certain subject matter under the original and exclusive jurisdiction of

       the federal courts of the United States of America.



1
 As set forth in Count I infra, Plaintiffs contend that he lacks the legal authority to be Acting
Attorney General.

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16.   This action seeks relief pursuant to 5 U.S.C. §§ 552, 702, 703, 704; 26 U.S.C. § 7805;

      and 28 U.S.C. §§ 1331, 1343, 1346, 2201, 2202, and 2412. Therefore, jurisdiction is

      founded on 5 U.S.C. §§ 702 and 704 and 28 U.S.C. § 1331, as this action arises under the

      Administrative Procedure Act, as well as the Constitution and laws of the United States.

17.   This Court has authority to award costs and attorney fees pursuant to 18 U.S.C. § 924, 5

      U.S.C. § 552(a)(4)(E)(i), and 28 U.S.C. §§ 1920, 2412.

18.   Venue is proper in this district pursuant to 5 U.S.C. § 703 and 28 U.S.C. §§ 1391(b)(2),

      (e)(1)(B), as a substantial part of the events and omissions giving rise to the claims

      occurred in the District of Columbia.


            STATEMENT OF FACTS COMMON TO ALL DEFENDANTS

                                  Publication of the ANPRM

19.   On December 26, 2017, ATF published the ANPRM in the Federal Register and on

      federalregister.gov, seeking public input concerning its proposed new treatment of

      “bump-stock-type” devices under the Final Rule. 82 Fed. Reg. at 60929;

      https://www.federalregister.gov/documents/2017/12/26/2017-27898/application-of-the-

      definition-of-machinegun-to-bump-fire-stocks-and-other-similar-devices.

20.   In the ANPRM, ATF sought certain information pertaining to bump stocks including, but

      not limited to: calendar years produced; economic impact of ATF classifying bump

      stocks as machine guns; use(s) for which the device was marketed; number of bump

      stocks sold; and purposes bump stocks are used for.

21.   It was in response to this notice that FPC submitted its comments on January 25, 2018,

      which was the date the comment period closed. (Docket No. 2017R-22, Docket ID ATF-

      2018-0001.) 82 Fed. Reg. at 60929.



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                                   Publication of the NPRM

22.   On March 29, 2018, ATF published its NPRM concerning the Final Rule in the Federal

      Register and on federalregister.gov. 83 Fed. Reg. at 13442;

      https://www.federalregister.gov/documents/2018/03/29/2018-06292/bump-stock-type-

      devices.

23.   In the NPRM, ATF stated, inter alia, that

             When a bump-stock-type device is affixed to a semiautomatic firearm, however,
             the device harnesses the recoil energy to slide the firearm back and forth so that
             the trigger automatically re-engages by “bumping” the shooter’s stationary trigger
             finger without additional physical manipulation of the trigger by the shooter. The
             bump-stock-type device functions as a self-acting and self-regulating force that
             channels the firearm’s recoil energy in a continuous back-and-forth cycle that
             allows the shooter to attain continuous firing after a single pull of the trigger so
             long as the trigger finger remains stationary on the device's extension ledge (as
             designed). No further physical manipulation of the trigger by the shooter is
             required.

             …

             These bump-stock-type devices are generally designed to operate with the shooter
             shouldering the stock of the device (in essentially the same manner a shooter
             would use an unmodified semiautomatic shoulder stock), maintaining constant
             forward pressure with the non-trigger hand on the barrel-shroud or fore-grip of the
             rifle, and maintaining the trigger finger on the device’s extension ledge with
             constant rearward pressure. The device itself then harnesses the recoil energy of
             the firearm, providing the primary impetus for automatic fire.

             83 Fed. Reg. at 13443, 13446.

24.   ATF announced that its intention behind the new rule was “to clarify that ‘bump fire’

      stocks, slide-fire devices, and devices with certain similar characteristics (bump-stock-

      type devices) are ‘machineguns’ as defined by the [NFA] and the [GCA], because such

      devices allow a shooter of a semiautomatic firearm to initiate a continuous firing cycle

      with a single pull of a trigger.” 83 Fed. Reg. at 13442. Both the NFA and GCA define

      “machinegun” to include any “weapon which shoots, is designed to shoot, or can readily



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      be restored to shoot, automatically more than one shot, without manual reloading, by a

      single function of the trigger,” as well as the frame or receiver of such a weapon or any

      parts or combination of parts that could be converted or assembled into such a weapon.

      26 U.S.C. § 5845(b); 18 U.S.C. § 921. At the time of the NPRM, the regulations under 27

      C.F.R. §§ 478.11 and 479.11 contained the same general definition of “machinegun.”

      ATF’s new rule would amend these to specifically define “single function of the trigger”

      to mean “single pull of the trigger,” and to define “automatically” to mean “as the result

      of a self-acting or self-regulating mechanism that allows the firing of multiple rounds

      through a single pull of the trigger.” 83 Fed. Reg. at 13442.

25.   ATF acknowledged it had made a series of previous determinations over the last decade

      that declared the same kind of “bump-stock-type” devices – operating with the same sort

      of functionality that the new rule seeks to prohibit – did not constitute “machineguns”

      within the meaning of the governing law. Specifically, ATF admitted that between 2008

      and 2017, it issued classification decisions and letter rulings concluding that ‘“bump-

      stock-type’ devices that enable a semiautomatic firearm to shoot more than one shot with

      a single function of the trigger by harnessing a combination of the recoil and the

      maintenance of pressure by the shooter, do not fire ‘automatically’” within the meaning

      of a “machinegun” as that term is defined under the law. 83 Fed. Reg. at 13443, 13445.

26.   Further, although now seeking to prohibit “all bump-stock-type devices” through the

      Final Rule on the basis that additional “legal analysis” supports the opposite conclusion

      that they convert the firearm into a prohibited “machinegun,” 83 Fed. Reg. at 13443,

      ATF’s NPRM at the same time conceded that such devices are neither essential nor

      necessary to this functionality of a firearm because individuals can “replicate the effects




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       of bump-stock-type devices” through myriad other means, such as by “us[ing] rubber

       bands, belt loops, or otherwise train[ing] their trigger finger to fire more rapidly,” id. at

       13454.

27.    Comments were required to be submitted on or before June 27, 2018. Fed. Reg. at 13446.

       Plaintiffs FPC and FPF submitted their comment on June 19, 2018.2 In their Comment,

       FPC and FPF documented numerous deficiencies regarding ATF’s NPRM, including, but

       not limited to, several of the procedural and substantive violations giving rise to the

       causes of action in this case: 1) ATF’s exceeding its statutory authority in the

       promulgation of the Final Rule; 2) the arbitrary and capricious nature of the Final Rule;

       and 3) ATF’s failure to provide the necessary supporting documents in the rulemaking

       process, thereby denying interested all parties an opportunity to fully consider and

       respond to the claims made by ATF in support of the Final Rule.3




2
  This comment was posted publicly on Regulations.gov on June 26, 2018. See
https://www.regulations.gov/document?D=ATF-2018-0002-61777 and
https://www.regulations.gov/document?D=ATF-2018-0002-61778. The comment was broken
into two separate sections due to the size. Certain media submitted as part of the comment are
unavailable for public viewing because the website is incapable of hosting or displaying the
content. A copy of the comment and its supporting exhibits are attached hereto and incorporated
herein as Exhibit A. Any exhibits that cannot be filed via the Court’s ECF system due to their
electronic nature will be included on a notice as required by Local Rule 49(e)(1) and are referred
to herein by the exhibit number it was assigned in the comment. In any instance where it is
possible to link to another source where the material may be found, the undersigned has done so.
3
  According to Regulations.gov, ATF received a total of 193,297 comments about the NPR. It is
unclear whether this number reflects the number of comments actually received and published by
ATF or whether it excludes any comments that ATF may have refused to accept for some reason
(e.g., profane content). See https://www.federalregister.gov/documents/2018/03/29/2018-
06292/bump-stock-type-devices (where ATF declared that it would “not consider, or respond to,
comments that do not meet these requirements or comments containing profanity,” even though
such speech is protected by the First Amendment to the U.S. Constitution).



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                                  Execution of the Final Rule

28.   On December 18, 2018, purported Attorney General Matthew Whitaker executed the

      Final Rule; thereby, purportedly making effective the Final Rule, RIN 1140-AA52,

      Docket No 2018R-22F.

29.   The Final Rule, executed by purported Attorney General Whitaker, was published and

      otherwise made available online on December 18, 2018 and all Plaintiffs obtained and

      reviewed the Final Rule on December 18, 2018.

30.   The Final Rule, spanning 157 pages, implements changes to 27 C.F.R. ¶¶ 447.11, 478.11,

      479.11, almost identical to the proposed changes in the NPRM.

31.   Specifically, modifies the definition of “Machinegun” in Section 447.11 such that,

      pursuant to the Final Rule (pg. 154-55), it will provide:

             A “machinegun”, “machine pistol”, “submachinegun”, or “automatic rifle” is a
             firearm which shoots, is designed to shoot, or can be readily restored to shoot,
             automatically more than one shot, without manual reloading, by a single function
             of the trigger. The term shall also include the frame or receiver of any such
             weapon, any part designed and intended solely and exclusively, or combination of
             parts designed and intended, for use in converting a weapon into a machinegun,
             and any combination of parts from which a machinegun can be assembled if such
             parts are in the possession or under the control of a person. For purposes of this
             definition, the term “automatically” as it modifies “shoots, is designed to shoot, or
             can be readily restored to shoot,” means functioning as the result of a self-acting
             or self-regulating mechanism that allows the firing of multiple rounds through a
             single function of the trigger; and “single function of the trigger” means a single
             pull of the trigger and analogous motions. The term "machinegun" includes a
             bump-stock-type device, i.e., a device that allows a semiautomatic firearm to
             shoot more than one shot with a single pull of the trigger by harnessing the recoil
             energy of the semi-automatic firearm to which it is affixed so that the trigger
             resets and continues firing without additional physical manipulation of the trigger
             by the shooter.

32.   Specifically, modifies the definition of “Machine gun” in Section 478.11 such that,

      pursuant to the Final Rule (pg. 155-56), it will provide:




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             For purposes of this definition, the term “automatically” as it modifies “shoots, is
             designed to shoot, or can be readily restored to shoot,” means functioning as the
             result of a self-acting or self-regulating mechanism that allows the firing of
             multiple rounds through a single function of the trigger; and “single function of
             the trigger” means a single pull of the trigger and analogous motions. The term
             “machine gun” includes a bump-stock-type device, i.e., a device that allows a
             semi-automatic firearm to shoot more than one shot with a single pull of the
             trigger by harnessing the recoil energy of the semiautomatic firearm to which it is
             affixed so that the trigger resets and continues firing without additional physical
             manipulation of the trigger by the shooter.

33.   Specifically, modifies the definition of “Machine gun” in Section 479.11 such that,

      pursuant to the Final Rule (pg. 156-57), it will provide:


             For purposes of this definition, the term “automatically” as it modifies “shoots, is
             designed to shoot, or can be readily restored to shoot,” means functioning as the
             result of a self-acting or self-regulating mechanism that allows the firing of
             multiple rounds through a single function of the trigger; and “single function of
             the trigger” means a single pull of the trigger and analogous motions. The term
             “machine gun” includes a bump-stock-type device, i.e., a device that allows a
             semi-automatic firearm to shoot more than one shot with a single pull of the
             trigger by harnessing the recoil energy of the semiautomatic firearm to which it is
             affixed so that the trigger resets and continues firing without additional physical
             manipulation of the trigger by the shooter.


       ATF’s Failure to Respond to FPC’s FOIA and Comply with APA Requirements

34.   In connection with its NPRM, ATF failed to include in the agency docket folder any

      supporting documentation for its newly formed determination that its previous, directly

      opposite conclusion about bump-stock-type devices “does not reflect the best

      interpretation of ‘machinegun’” under the NFA and GCA. 83 Fed. Reg. at 13443.

35.   As a result, on March 30, 2018, the day after ATF published the NPRM, Plaintiff FPF

      submitted an expedited FOIA Request seeking the following documentation: “all ATF

      determinations relative to devices referred to as ‘bump stocks’ and ‘bump-fire stocks’ by

      ATF in its proposed rulemaking (ATF 2017R-22, RIN 1140-AA52, Fed. Register No.


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       2018-06292 - https://www.regulations.gov/document?D=ATF-2018-0002-0001), as well

       as, all ATF Form 9310.3A ‘Correspondence Approval and Clearance’ forms relative to

       each determination, and any versions or drafts of the determinations, which were

       different than the final determination.”4 ATF also received “correspondence[s] from

       members of the United States Senate and the United States House of Representatives, as

       well as nongovernmental organizations, requesting that ATF examine its past

       classifications and determine whether bump-stock-type devices currently on the market

       constitute machineguns under the statutory definition.” 83 Fed. Reg. at 13446.

36.    These requests were made several months ago now and yet, to date, ATF has not

       responded at all to the FOIA request, and it has not otherwise made available to the

       public in the docket folder or elsewhere any of the requested documents or any other

       documentation in support of its Final Rule. Most notably, ATF has not disclosed any of

       the prior classification decision or letter rulings that concluded bump-stock-type devices

       do not constitute firearms, let alone “machineguns” under the law.



             ATF’s Failure or Refusal to Grant FPC or FPF’s Request for Hearing

25.    In their comment, FPC and FPF also requested an opportunity to be heard at a hearing




4
  For purposes of the FOIA Request, “[t]he use of the word ‘determinations’ shall be understood
to mean any correspondence, whether in electronic or paper form, by ATF to any person, which
shall include any individual, Member of Congress, corporation, limited liability company, and
partnership, regarding the lawfulness or unlawfulness of any bump stock or bump-fire stock
device, whether a sample device was submitted or not to ATF.” See Exhibit A at 75-78.

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       before ATF implemented any rule or regulation in relation to this NPRM, pursuant to

       U.S.C. section 926(b). 5 83 Fed. Reg. at 13456. The NPRM stated that “[a]ny interested

       person who desires an opportunity to comment orally at a public hearing should submit

       his or her request, in writing, to the Director of ATF within the 90-day comment period.”

       83 Fed. Reg. at 13456. However, ATF also declared, in violation of Section 926(b), that

       the matter of granting such a hearing was left to the discretion of the ATF Director as to

       whether it was “necessary.” Id.

26.    Out of an abundance of caution, FPC and FPF also sent a separate letter on June 15, 2018

       to Acting Director Brandon, which requested a hearing, and included a copy of the letter

       as Exhibit 34 to its Comment. See Exhibit A at 913.

27.    Nevertheless, ATF never granted FPC or FPF any such process, and never even

       responded to the request for such a hearing.



                         Procedural Irregularities with Comment Period

37.    Not only did ATF fail to provide the material supporting documentation despite the

       formal requests for it, the comment period was littered with additional procedural

       irregularities and errors.

38.    Immediately upon the publication of the NPR on March 29, 2018, the following advisory

       appeared on federalregister.gov:6 “COMMENT PERIOD CLOSED – The comment




5
  This statute provides: “[t]he Attorney General shall give not less than ninety days public notice,
and shall afford interested parties opportunity for hearing, before prescribing such rules and
regulations.”
6
  The website address where this advisory appeared was
https://www.federalregister.gov/documents/2018/03/29/2018-06292/bump-stock-type-devices.

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      period on this document is closed and comments are no longer being accepted on

      Regulations.gov. We apologize for any inconvenience.” Exhibit A at 17.

39.   And, in fact, the website was not accepting comments. When people complained to the

      Federal Register that they could not submit their comments online, the Federal Register

      responded that they could not be of any help. See Exhibit A at 17.

40.   Upon information and belief, it was not until April 2, 2018 (i.e. five days into the

      comment period) that the declaration that “COMMENT PERIOD CLOSED” was

      removed from federalregister.gov by ATF and that interested individuals were able to

      submit comments. Unfortunately, upon information and belief, numerous individuals, due

      to the declaration on federalregister.gov “COMMENT PERIOD CLOSED,” were led to

      believe that they were unable to submit comments in relation to this rulemaking and were

      therefore deprived of an opportunity to be heard, since they were never informed, after

      ATF removed the declaration and permitted comments to be filed, that they could then

      submit comments.

41.   Further, while the public was directed to federalregister.gov as a resource for all relevant

      information and as a vehicle through which to submit comments regarding the Final Rule,

      the website’s content was confusing and convoluted. The NPRM identified the

      rulemaking procedures under “Docket No. 2017R-22,” but the information on the website

      related to these proceedings made no mention of this docket number. Instead, it referred

      to two different docket numbers (ATF-2018-0002 and ATF-2018-0002-0001), and these

      dockets concerned the ANPRM, for which the comment period had closed in January.

42.   The confusing and convoluted display of the information on federalregister.gov was

      documented in an article Carl Bussjaeger on April 2, 2018, titled [Update] Bumbling




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      Machinations on Bump Stocks? Exhibit A at 164-173; see

      http://zelmanpartisans.com/?p=5071 and http://zelmanpartisans.com/?p=5055 for copies

      of this publication.

43.   When Mr. Bussjaeger inquired of ATF about the issues, an ATF Senior Industry

      Operations Investigator responded that he should refer to

      https://www.regulations.gov/document?D=ATF-2018-0002-0001, which contains the

      ANPRM and the NPRM, including information on the submission of comments.

      However, ATF failed to supply this or any other clarifying information to the public at

      large concerning where to locate the relevant material and how to submit their comments.

44.   On information and belief, Plaintiffs allege that, as a result of these technical

      irregularities and errors in ATF’s rulemaking process, numerous people were precluded

      from being able to timely submit their comments and ATF ultimately never received or

      actually considered all the comments submitted under the different docket numbers.


           STATEMENT OF FACTS CONCERNING PLAINTIFF GUEDES

45.   In 2014, Mr. Guedes became interested in a bump stock device. Exhibit A at 274-75.

      Before purchasing such a device, Mr. Guedes accessed BFSystems’s website to

      determine whether ATF had approved the particular device he sought to purchase.

      BFSystems’s website stated that ATF had approved the device in a written determination

      letter dated April 2, 2012. Id. at 277-78.

46.   Relying upon this determination from ATF, Mr. Guedes purchased an AR15 BFSystem

      for $99.99, which he still possesses today. Id. at 280.




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         STATEMENT OF FACTS RELATED TO MATTHEW THOMPSON

47.   In 2017, Matthew Thompson (“Mr. Thompson”) became interested in a bump stock

      device. Exhibit A 282-83.

48.   Before purchasing such a device, Mr. Thompson accessed Slide Fire’s website to

      determine whether ATF had approved the particular device he sought to purchase. Slide

      Fire’s website stated that ATF had approved the device in a written determination letter

      dated June 7, 2010. Id.

49.   Relying upon this determination from ATF, Mr. Thompson purchased a Slide Fire bump

      stock for $134.00, which he still possesses today. Id.



             STATEMENT OF FACTS RELATED TO DEFENDANT MATTHEW
                                 WHITAKER

50.   On November 7, 2018, President Donald J. Trump requested that then Attorney General

      Jefferson B. Sessions, III, resign from his position.

51.   Mr. Sessions tendered his resignation to President Trump later that day.

52.   After receiving Mr. Sessions’ resignation, President Trump appointed Defendant

      Matthew Whitaker as Acting Attorney General. See Donald J. Trump

      (@realDonaldTrump), Twitter (Nov 7, 2018, 11:44 AM),

      https://twitter.com/realDonaldTrump/status/1060256619383193601.

53.   On December 18, 2018, purported Attorney General Matthew Whitaker executed the

      Final Rule; thereby, purportedly making effective the Final Rule, RIN 1140-AA52,

      Docket No 2018R-22F




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  COUNT I: MATTHEW WHITAKER’S APPOINTMENT AS ACTING ATTORNEY
    GENERAL VIOLATES 28 U.S.C. § 508 AND THEREFORE, HE LACKS THE
      AUTHORITY TO EXECUTE AND IMPLEMENT THE FINAL RULE


54.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.

55.   28 U.S.C. § 508(a) provides, “[i]n case of a vacancy in the office of Attorney General, or

      of his absence or disability, the Deputy Attorney General may exercise all the duties of

      that office…”

56.   Rod J. Rosenstein was sworn in as Deputy Attorney General of the United States on April

      26, 2017.

57.   At all times since April 26, 2017, including after the resignation of Former Attorney

      General Sessions, Mr. Rosenstein, has been the Deputy Attorney General of the United

      States.

58.   Pursuant to 28 U.S.C. § 508(a), Deputy Attorney General Rosenstein is the appropriate

      party to perform the duties of Attorney General while President Trump nominates a

      candidate to be confirmed by the Senate for that position.

59.   Moreover, pursuant to 28 U.S.C. § 508, there is no mechanism for the President to

      appoint an Acting Attorney General when an order of succession is expressly provided

      for and those individuals are able to fulfil the role of Attorney General.

60.   Accordingly, Defendant Matthew Whitaker is unable to lawfully perform the duties and

      responsibilities of Attorney General, including the execution on December 18, 2018 and

      implementation of the Final Rule.

61.   As Defendant Matthew Whitaker’s execution on December 18, 2108 of the Final Rule is

      infirm, since he lacks the authority to sign the Final Rule as Attorney General, the Final

      Rule must be struck down as invalidly enacted.



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           COUNT II: ADMINISTRATIVE PROCEDURE ACT VIOLATIONS

62.    The foregoing paragraphs are hereby incorporated herein as if set forth in full.

63.    A reviewing court may “hold unlawful and set aside agency action … found to be –

       arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the law.”

       5 U.S.C. § 706(2)(A).


                         Failure to Provide the Underlying Documents

                        (Plaintiffs FPC and FPF Against All Defendants)

64.    The APA imposed upon ATF the affirmative duty to respond to “any request for records

       which (i) reasonably describes such records and (ii) is made in accordance with published

       rules” by “mak[ing] the records promptly available” to the requester. 5 U.S.C. §

       522(a)(3)(A). An agency’s failure to properly discharge this duty gives rise to a cause of

       action in the nature of the claim Plaintiffs have brought here, through which the district

       court is empowered to compel disclosure of the records improperly withheld, 5 U.S.C. §

       552(a)(4)(B), and to assess “reasonable attorney fees and other litigation costs reasonably

       incurred in any case under this section in which the complainant has substantially

       prevailed,” 5 U.S.C. § 552(a)(4)(E)(i).7

65.    Here, despite proper requests by FPC and FPF “made in accordance with published rules”

       several months ago now concerning the NPRM, and even a separate formal FOIA request

       by FPF, Exhibit 75-58, ATF has failed or refused to provide any of the requested records,

       or any other supporting documents, to FPC, FPF, or the public. As such, the agency has


7
 In such situations, if “the court additionally issues a written finding that the circumstances
surrounding the withholding raise questions whether agency personnel acted arbitrarily or
capriciously with respect to the withholding, the Special Counsel shall promptly initiate a
proceeding to determine whether disciplinary action is warranted against the officer or employee
who was primarily responsible for the withholding.” 5 U.S.C. § 552(a)(4)(F)(i).

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      failed or refused to justify or supply any basis for the ostensibly “extensive legal

      analysis” motivating its decision to criminalize all “bump-stock-type devices” as

      prohibited “machineguns” under its Final Rule. Fed. Reg. at 13443.

66.   ATF’s failure to discharge its statutorily-imposed duty to make the requested record

      “promptly available” in response to the requests of FPC and FPF improperly deprived

      them, and ultimately the rest of the public, of their important statutorily-created

      opportunity to fully consider and participate in the APA’s public comment process,

      which is designed to ensure government transparency and a properly informed citizenry

      in the establishment of agency regulations.

67.   Wherefore, Plaintiffs FPC and FPF are entitled to the relief prayed for herein.


                         Failure to Provide 90-Day Comment Period

                            (All Plaintiffs Against All Defendants)

68.   Under 18 U.S.C. § 926(b), ATF was statutorily obligated to provide at least a 90-day

      public comment period to facilitate the public discourse intended under the APA.

69.   Nevertheless, in addition to failing to provide any supporting documents to the public at

      large – or even to FPC and FPF in response to their properly presented formal record

      requests – ATF failed or refused to provide for this crucial public comment process.

70.   As described above, immediately upon the publication of the NPR, the portal through

      which concerned citizens were directed to submit online comments, was shut down and

      the website specifically declared that the comment period was “closed.”

71.   As a result, for a minimum of five days of the statutorily required ninety-day comment

      period, interested individuals were deprived of their ability to submit comments.




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72.   Furthermore, numerous individuals, due to the declaration on federalregister.gov, were

      led to believe that they were unable to submit comments in relation to this rulemaking

      and were therefore deprived of an opportunity to be heard, since they were never

      informed, after ATF removed the declaration and permitted comments to be filed, that

      they could now submit comments.

73.   Wherefore, Plaintiffs are entitled to the relief prayed for herein.


                Failure to Consider Cost-Impact and Erroneous Cost Estimate

                             (All Plaintiffs Against All Defendants)

74.   ATF flat out ignored any analysis in relation to a cost impact, as the proposed rule fails to

      provide information on how the Government will fulfill its obligation to compensate

      affected individuals for the taking.

75.   As reflected in the NPRM, ATF assumes “an average sale price for bump-stock-devices

      from 2012-2017 [of] $200.00,” while acknowledging that the prices ranged from $179.95

      to $425.95. 83 Fed. Reg. 13451. The proposal then declares the primary estimated cost to

      be $96,242,750.00 based on ATF’s primary estimate of 520,000 bump-stock-devices

      having been produced. Id.

76.   However, multiplying ATF’s stated average price of $200.00 by the primary estimate

      yields a value of $104,000,000.00, not $96,242,750.00 as stated in Table 3 of NPRM.

77.   Moreover, by averaging the acknowledged prices for bump-stock-devices, a proper

      average sale price should be $302.95, which would result in a primary estimated cost of

      $157,534,000.00 in just compensation being due.




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                    Failure to Provide Plaintiffs FPC and FPF a Hearing

                       (Plaintiffs FPC and FPF Against All Defendants)

78.   Under 18 U.S.C. § 926(b), ATF was also expressly required to “afford interested parties

      opportunity for hearing, before prescribing such rules and regulations.”

79.   In contravention of the clear mandate that the agency “shall afford” such hearings, ATF

      purported to transform this mandatory obligation into a discretionary option for itself, by

      declaring in the NPRM that such hearings ultimately would be granted only if the

      Director found it “necessary” to do so. 83 Fed. Reg. at 13456. The NPRM included no

      objective standards or criteria controlling or limiting the Director’s determination here

      and therefore essentially vested the Director with unbridled discretion to deny hearings.

80.   Moreover, in an apparent exercise of this unchecked discretion that the agency

      purportedly created for itself in violation of section 926(b), ATF failed and refused to

      provide FPC or FPF any opportunity for a hearing before implementing the Final Rule

      despite the organizations’ formal requests for such a hearing.

81.   Wherefore, Plaintiffs FPC and FPF are entitled to the relief prayed for herein.


                          The Final Rule is Arbitrary and Capricious

82.   As previously noted, a reviewing court may “hold unlawful and set aside agency action

      … found to be – arbitrary, capricious, an abuse of discretion, or otherwise not in

      accordance with the law.” 5 U.S.C. § 706(2)(A). “Agency action is arbitrary and

      capricious ‘if the agency has relied on factors which Congress has not intended it to

      consider, entirely failed to consider an important aspect of the problem, [or] offered an

      explanation for its decision that runs counter to the evidence before the agency.’” Animal




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       Legal Def. Fund, Inc. v. Perdue, 872 F.3d 602, 611 (2017 D.C. Cir.) (quoting Motor

       Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43).

83.    Here, given its failure or refusal to produce any records in support of the Final Rule, ATF

       has presented no evidence in support of its “legal analysis” leading to the unprecedented

       conclusion that bump-stock-type devices are “machineguns” because “they convert a

       semiautomatic firearm into a firearm that shoots automatically more than one shot,

       without manual reloading, by a single function of the trigger.” 83 Fed. Reg. at 13443.

       And all the known evidence runs directly counter to this conclusion.

84.    Experts opining on behalf of ATF have consistently concluded that commonly used

       bump-stock-type devices manufactured by Slide Fire and Bump Fire Systems do not

       function so as to convert the associated firearm into a “machinegun” because, in fact, the

       shooter must still separately pull the trigger to fire each successive shot. See Exhibit A at

       901 and 908 (expert report of Rick Vasquez, former Acting Chief of Firearms

       Technology Branch); id. at 708 (expert testimony of Thomas E. Brandon, ATF Deputy

       Director, in Freedom Ordnance Mfg. v. Thomas E. Brandon).

85.    Additionally, FPC placed before the agency, as part of its comment, compelling video

       evidence in which an AR-15 type of firearm fitted with a Slide Fire bump stock device

       was fired in multiple ways,8 Exhibit 28 to Exhibit A,9 including in precisely the same



8
  The video depicts the firearm being shot in three different manners: first with the stock in a
“locked” position (meaning that the stock does not move); second with the stock unlocked (so
that the stock may move freely); and finally, again with the stock unlocked but in the manner
described in the NPR itself (maintaining constant forward pressure with the non-trigger hand on
the barrel-shroud or fore-grip of the rifle, and maintaining the trigger finger on the device’s
extension ledge with constant rearward pressure”).
9
 This video can also be viewed online at the following link: https://youtu.be/1OyK2RdO63U
(Adam Kraut, Esq. and Patton Media and Consulting, Bump Stock Analytical Video).

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      manner that the NPRM emphasizes as creating “machinegun” functionality – i.e., where

      the shooter maintains “constant forward pressure with the non-trigger hand on the barrel-

      shroud or fore-grip of the rifle, and constant rearward pressure on the device’s extension

      ledge with the shooter’s trigger finger,” 83 Fed. Reg. at 13444. As this evidence clearly

      demonstrates, in all methods of firing, the bump stock device does not, as ATF claims in

      the NPRM, function as “a self-acting or self-regulating mechanism that allows the firing

      of multiple rounds through a single pull of the trigger.” 83 Fed.Reg. at 1344. Rather, the

      video shows that each shot requires a separate pull of the trigger. Exhibit 28 to Exhibit A.

      This most notably includes the form of firing on which ATF relies to make its claim, as

      the video plainly and indisputably illustrates that, even when fired in this manner, the

      trigger must be released, reset, and pulled completely rearward before the next shot can

      be fired. Id. Thus, at no point does the firearm fire more than one round, by a single

      function of the trigger. Id. Moreover and consistently, the close-ups reveal, contrary to

      ATF’s contention (83 Fed. Reg. 13447), that “additional physical manipulation of the

      trigger by the shooter” is necessary for subsequent rounds to be discharged. Id.

86.   Indeed, Mr. Vasquez, the former Acting Chief of FTB, viewed the Bump Stock Analytical

      video and attested it “fully, explicitly, and accurately depicts the function of bump-stock-

      devices, including, but not limited to, the function and operation of the firearm’s trigger,

      which is exactingly consistent with my evaluation and review of the Slide Fire stock

      during my tenure with ATF and my Slide Fire Analysis.” Exhibit A at 901.

87.   As Mr. Vasquez further explained (Exhibit A at 903):

             The bump-stock-device does not permit automatic fire by harnessing the recoil
             energy of the firearm. Harnessing the energy would require the addition of a
             device such as a spring or hydraulics that could automatically absorb the recoil
             and use this energy to activate itself. If it did harness the recoil energy, the bump-



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              stock equipped firearm in the video would have continued to fire, while the
              shooter’s finger remained on the trigger, after pulling it rearwards without
              requiring the shooter to release and reset the trigger and then pull the trigger
              completely reward for a subsequent round to be fired.

88.    Moreover, even assuming bump-stock-type devices do or could produce such

       machinegun-like effects (something Plaintiffs do not concede given the evidence clearly

       demonstrating otherwise), ATF’s own analysis in the NPRM tellingly undermines the

       validity of the conclusion on which its new rule is based, because it reveals the

       underlying rationale is capricious, absurd, and invites total arbitrariness.

89.    As noted, because bump-firing is produced by a technique and not a particular device,

       ATF admits that this method of firing can be produced by myriad means totally unrelated

       to any bump-stock-style device, such as through certain fashioning of rubber bands or

       belt loops, or by simply training one’s trigger finger to fire more rapidly. 83 Fed. Reg. at

       13454. This acknowledgement can lead to one of only two untenable conclusions: First,

       ATF is explicitly approving the use of such techniques to produce machinegun-like

       effects, which cannot reasonably be squared with its claim that regulation of bump-stock-

       type devices is urgently necessary prevent mass-shooting mayhem.10 Second, ATF is

       declaring that any such manipulations of a semiautomatic firearm to produce this

       shooting capability is subject to regulation under the Final Rule just the same as if the

       firearm were a “machinegun.” This does square logically with the thesis of ATF’s NPRM

       that this functionality of firearms, in general, must be stamped out to prevent mass

       shootings, but such a rationale leads to the absurd result that people could be arrested,

10
  One could draw this inference from ATF’s statement that, for those individuals who seek to do
so, these manual manipulations of semiautomatic firearms “would be their alternatives to using
bump-stock-type devices,” 83 Fed. Reg. at 13454, which arguably implies that while attempting
to use bump-stock devices to produce such effects is not acceptable, these “alternatives” are
acceptable.

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      prosecuted, and convicted of illegal “machinegun” possession, and additionally lose not

      only their firearms but their Second Amendment rights pursuant to 18 U.S.C. § 922(g)(1),

      simply because they employed a technique on some occasion that happened to produce a

      “bump-fire” effect.

90.   Either way, all the known evidence (as well as logic and common sense) before ATF and

      elsewhere concerning the actual functionality and utility of bump-stock-type devices,

      runs diametrically counter to the conclusion on which ATF’s Final Rule rests. Therefore,

      the Final Rule cannot be sustained and instead must be stricken as invalid. Stand Up for

      California! v. United States DOI, 204 F. Supp. 3d 212, 245 (D.C. 2016) (quoting Cty. of

      L.A. v. Shalala, 192 F.3d 1005, 1021, 338 U.S. App. D.C. 168 (D.C. Cir. 1999) (When an

      agency ‘“fail[s] to provide a reasoned explanation, or where the record belies the

      agency’s conclusion, [the court] must undo its action.’”).

91.   Wherefore, Plaintiffs are entitled to the relief prayed for herein.




         COUNT III: VIOLATION OF ATF’S RULEMAKING AUTHORITY

92.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.

93.   The “core administrative-law principle” is that “an agency may not rewrite clear statutory

      terms to suit its own sense of how the statute should operate.” Util. Air Regulatory Group

      v. EPA, 134 S. Ct. 2427, 2446 (2014); Chevron, U.S.A., Inc. v. Natural Resources

      Defense Council, Inc., 467 U.S. 837, 842-843 (1984) (“If the intent of Congress is clear,

      that is the end of the matter; for the court, as well as the agency, must give effect to the

      unambiguously expressed intent of Congress.”).




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94.   Congress has clearly defined “machinegun” to include only a firearm “which shoots, is

      designed to shoot, or can readily be restored to shoot, automatically more than one shot,

      without manual reloading, by a single function of the trigger,” and the frame or receiver

      of such a weapon, or parts or combination of parts that could be converted or assembled

      into such a weapon. 26 U.S.C. § 5845(b); 18 U.S.C. § 921. The express purpose behind

      the Final Rule’s alteration and expansion of this definition is to capture “all bump-stock-

      type devices” with the law’s prohibitive sweep based upon ATF’s conclusion – directly

      countered by all the available evidence and logic – that such devices enable shooters to

      shoot automatically through a “self-acting or self-regulating” firing mechanism.

95.   Because there is no support for ATF’s conclusion about the functionality of these

      devices, it has necessarily exceeded its statutory authority by purporting to expand the

      law of Congress for the specific purpose of regulating firearms such devices as prohibited

      “machineguns.” Indeed, through its previous formal determinations that bump stock

      devices are not “machineguns,” ATF itself has conceded that it lacks the authority to

      regulate these devices at all. In fact, in a 2013 letter to Congressman Ed Perlmutter, ATF

      stated it “does not have authority to restrict [bump-stock devices’] lawful possession, use

      or transfer.” Id. at 268. And members of Congress have said the same: ranking Judiciary

      Committee Member, Senator Diane Feinstein, has declared that “ATF lacks authority

      under the law to ban bump-fire stocks. Period.” Exhibit A at 267.

96.   Accordingly, ATF’s attempt to redefine the term “machinegun” is in violation of its

      regulatory authority and Plaintiffs are entitled to the relief prayed for herein.



               COUNT IV: INTERNAL REVENUE CODE VIOLATIONS

97.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.


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98.    ATF’s Final Rule is not only procedurally and substantively invalid as set forth above,

       but any implementation or enforcement of the rule against such devices manufactured or

       assembled before the date of the NPRM publication would violate 26 U.S.C. § 7805(b).

       26 U.S.C. § 7805(b) provides that “no temporary, proposed, or final regulation relating to

       the internal revenue laws shall apply to any taxable period ending before … [¶ … ¶] [t]he

       date on which any notice substantially describing the expected contents of any temporary,

       proposed, or final regulation is issued to the public.” ATF has previously acknowledged

       the limiting effect of this law on the retroactivity of its firearms regulations, in that it

       cannot properly apply a legal reclassification of items produced before this date. See e.g.,

       ATF Rule 82-8 (in reclassifying SM10 and SM11A1 pistols and SAC carbines as

       “machineguns” under the National Firearms Act, ATF acknowledged that the

       reclassification was not applicable to those firearms manufactured or assembled before

       June 21, 1982, pursuant to 26 U.S.C. § 7805(b)); ATF-41F (81 Fed. Reg. 2658 through

       2723) (where ATF cited Section 7805(b) in declining to retroactively apply the final rule

       related to the transfer of regulated firearms and acknowledging that the old law would

       apply to all transfer applications submitted prior to the effective date of the new rule).

99.    Accordingly, to whatever extent the Final Rule may otherwise legitimately be

       implemented or enforced, it cannot be properly be applied to bump stock devices

       manufactured before March 29, 2018 – the date of publication of this NPR in the Federal

       Register – if not, the date of issuance of the Final Rule.


                COUNT V: TAKINGS WITHOUT JUST COMPENSATION

100.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.




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101.   Generally, under the Takings Clause of the Fifth Amendment to the U.S. Constitution,

       when government laws or regulations result in the taking or destruction of private

       property, the government must provide just compensation for the value of that property.

       Horne v. Dep’t of Agric., 135 S. Ct. 2419, 2425-28 (2015); Pumpelly v. Green Bay &

       Mississippi Canal Co., 80 U.S. 166, 177 (1871). More specifically, an agency regulation

       amounts to such a taking when “denies all economically beneficial or productive use” of

       the property or when it “impedes the use of property without depriving the owner of all

       economically beneficial use,” based upon “a complex of factors, including (1) the

       economic impact of the regulation on the claimant; (2) the extent to which the regulation

       has interfered with distinct investment-backed expectations; and (3) the character of the

       governmental action.” Murr v. Wisconsin, 137 S. Ct. 1933, 1943 (2017).

102.   ATF has made no bones about the property-destroying effect of its Final Rule. It has

       boldly declared that, upon implementation of the rule, all “manufacturers, current owners,

       and persons wishing to purchase [bump-stock-type] devices would be subject to the

       restrictions imposed by the GCA and NFA.” Reg. Red. At 13448. Thus, all “bump-stock-

       type devices currently possessed by individuals would have to be destroyed or turned in

       upon implementation of the regulation.” Id. at 13450.” Indeed, given the teeth built into

       the criminal statutes that ATF seeks to invoke through this application of the Final Rule,

       the forced dispossession comes on pain of criminal prosecution for failure to comply.

103.   Unquestionably, the effect of this regulation is to destroy “all economically beneficial or

       productive use” and to destroy all the “investment-backed expectations” that ATF itself

       set up through its previous public pronouncements consistently declaring these very same

       types of devices lawful as not constituting “machineguns.” And the loss of private




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       interests here is substantial. ATF itself assumes “an average sale price for bump-stock-

       devices from 2012-2017 [of] $200.00,” while acknowledging that the prices ranged from

       $179.95 to $425.95. 83 Fed. Reg. at 13451. It then declares that the primary estimated

       cost to be $96,242,750.00 based on an estimate of 520,000 affected bump-stock-devices.

       However, multiplying ATF’s stated average price of $200.00 by the primary estimate

       yields a value of $104,000,000.00, not $96,242,750.00 as stated in Table 3 of the NPRM.

       Moreover, by averaging the acknowledged prices for bump-stock-devices, a proper

       average sale price should be $302.95, which would result in a primary estimated cost of

       $157,534,000.00 in just compensation being due.

104.   At a minimum, for those like Plaintiffs Guedes and Mr. Thompson with concretely

       established damages based on the verified purchase price of their bump-stock-type

       devices, the government should be compelled as a matter of law under the Takings

       Clause to provide just compensation in the amount of the purchase price.

105.   Moreover, the requirement of just compensation for this destruction of valuable private

       interests cannot be set aside as a valid exercise of police power, for the simple yet

       fundamental reason that ATF has not and evidently cannot put forth legitimate support

       for the core conclusion underlying the Final Rule that these devices constitute

       “machineguns.” Brendale v. Confederated Tribes & Bands of Yakima Indian Nation, 492

       U.S. 408, 429, n. 11 (1989). (“[T]o be a valid exercise of the police power in the first

       instance a government regulation must be rationally related to a legitimate state

       interest.”).

106.   Accordingly, implementation of this regulation would violate the Takings Clause of the

       Fifth Amendment and Plaintiffs are entitled to the relief prayed for herein.




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                            COUNT VI: EX POST FACTO VIOLATION

107.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.

108.   Article I, Section 9, Clause 3 of the U.S Constitution declares that “No Bill of Attainder

       or ex post facto Law shall be passed.” It is well established that this prohibition includes

       “[e]very law that makes an action done before the passing of the law, and which was

       innocent when done, criminal; and punishes such action,” Calder v. Bull, 3 U.S. 386

       (1798), and any law that, “in relation to the offence or its consequences, alters the

       situation of a party to his disadvantage,” Collins v. Youngblood, 497 U.S. 37, 47 (1990).

       The specific focus of this proscription is to prevent the retroactive application of laws and

       regulations whose primary purpose is to impose punishment on the affected citizens or

       whose impact would be so punitive either in purpose or effect as to negate any claim of a

       mere intent to effect a civil and nonpunitive regulatory purpose. See Smith v. Doe, 538

       U.S. 84, 92 (2003); Johnson v. Quander, 440 F.3d 489, 500-501 (D.C. Cir. 2006).

109.   Much like the unabashed manner in which ATF attempts to destroy all value and

       beneficial use of bump-stock-type devices without providing any just compensation, ATF

       openly admits the harsh criminal consequences flowing from its unsupported about-face

       on the classification of bump-stock-type devices. As the NPRM states (italics added):

       The proposed rule would replace prior classifications of bump-stock-type
       devices, including those that ATF previously determined were not machineguns.
       This rule would thus supplant any prior letter rulings with which it is inconsistent
       so that any bump-stock device described above qualifies as a machinegun.

       83 Fed. Reg. at 13448.

110.   And, as already seen, because all “manufacturers, current owners, and persons wishing to

       purchase such devices would be subject to the restrictions imposed by the GCA and

       NFA,” 83 Fed. Reg. at 13448, everyone is subject criminally punitive sanctions for



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       failing to comply with this new world order of ATF – without exception (except for the

       small class of individuals exempted from the rule). Indeed, ATF has expressly declared

       that “there is no means by which a possessor may register a firearm retroactively,

       including a firearm that has been reclassified.” Id. (italics added). So ATF has effectively

       shackled everyone affected by this new rule, transforming them into criminals based

       upon their mere possession of any bump-stock-type device regardless of whether that

       device had theretofore been lawfully possessed and regardless of whether ATF itself

       previously determined the device does not to have the capability of converting a firearm

       into a prohibited “machinegun.” This is a prohibited ex post facto in the purest sense.

111.   Accordingly, Plaintiffs are entitled to the relief prayed for herein.


               COUNT VII: VIOLATION OF THE CONTRACTS CLAUSE

112.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.

113.   “The Contracts Clause restricts the power of States to disrupt contractual arrangements. It

       provides that ‘[n]o state shall . . . pass any . . . Law impairing the Obligation of

       Contracts.’ U. S. Const., Art. I, §10, cl. 1.” Sveen v. Melin, 138 S. Ct. 1815, 1821 (2018).

       “To determine when such a law crosses the constitutional line, … [t]he threshold issue is

       whether the state law has “operated as a substantial impairment of a contractual

       relationship.” Id. at 1821-22. “In answering that question,” the primary factors of

       concerns are “the extent to which the law undermines the contractual bargain, interferes

       with a party’s reasonable expectations, and prevents the party from safeguarding or

       reinstating his rights.” Id. at 1822. “If such factors show a substantial impairment, the

       inquiry turns to the means and ends of the legislation.” Id. And the focus there is




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       “whether the state law is drawn in an ‘appropriate’ and ‘reasonable’ way to advance ‘a

       significant and legitimate public purpose.” Id.

114.   Here, as ATF unabashedly admits throughout its NPRM, the government undeniably

       created reasonable, investment-backed expectations in the eyes of the affected public

       about the legality of their acquisition, purchase, possession, and use of the untold number

       of specifically identified bump-stock-type devices, and all their substantially similar or

       reasonable equivalents, that ATF deemed lawful in its prior rulings and determinations.

       And, beyond substantial impairment, the Final Rule would completely eviscerate those

       investment backed expectations on which the affected individuals relied to their serious

       detriment – a detriment so significant that it exposes them to criminal liability.

115.   Moreover, for all the reasons already discussed revealing the illegality of the process and

       substance behind ATF’s scheme here, and especially the lack of any demonstrated or

       even logical basis in support of the Final Rule, the regulation certainly has not been

       “drawn in an ‘appropriate’ and ‘reasonable’ way to advance ‘a significant and legitimate

       public purpose.” Sveen v. Melin, 138 S. Ct. at p. 1822.

116.   Accordingly, this amounts to a violation of the Contracts Clause, and on this basis too

       Plaintiffs have demonstrated entitled to the relief prayed-for herein.


                            COUNT VIII: VIOLATION OF FOIA

                             (Plaintiff FPF Against All Defendants)

117.   The foregoing paragraphs are hereby incorporated herein as if set forth in full.

118.   As described above, ATF failed and refused to respond to the properly presented, formal

       request for production of records submitted several months ago by FPF. The agency




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       neglected to even assign a docketing number to the FOIA request and, to this date, has

       made no effort to communicate even an intention of complying with the request.

119.   Accordingly, Plaintiff FPF has been improperly and illegally denied access to the

       requested records, 5 U.S.C. § 552(a)(3)(A), this Court has the power to compel the

       agency to produce the records in accordance with the law, 5 U.S.C. § 552(a)(4)(B), and it

       should do so in addition to assessing ATF with reasonable attorney’s fees and court costs

       incurred on account of the need to bring this action, 5 U.S.C. § 552(a)(4)(E)(i).

120.   Wherefore, Plaintiffs are entitled to the relief prayed for herein.


                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Damien Guedes, Firearms Policy Coalition, Inc., and

Firearms Policy Foundation respectfully requests that this Honorable Court enter judgment in

their favor and against Defendants, as follows:

a)     Preliminarily enjoin Defendants, their officers, agents, servants, employees and all

       persons in active concert or participation with them from enforcing the Final Rule and all

       related laws, policies, and procedures that would impede or criminalize an individual’s

       exercise of their use, possession, sale, transfer, or other disposition of a bump-stock-type

       device, as the result of this new regulation;

b)     Declare that Defendant Matthew Whitaker lacked the legal authority to execute the Final

       Rule and thereby hold that the Final Rule was never lawfully enacted;

c)     Declare that Defendants are prohibited from implementing a new regulation, wherein

       they expand or purport to expand the definition of a “machine gun” as enacted by

       Congress, on the basis that the Final Rule violates the APA;




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d)   Declare that Defendants are prohibited from implementing a new regulation, wherein

     they expand or purport to expand the definition of a “machine gun” as enacted by

     Congress, on the basis that the Final Rule violates ATF’s statutory authority;

e)   Declare pursuant to 26 U.S.C. § 7805, Defendants are unable to enforce a ban on the

     possession or use of bump-stock-type devices;

f)   Declare that the Final Rule’s enforcement constitutes a violation of Article I, Section 9,

     Clause 3 of the U.S Constitution (Ex Post Facto Clause);

g)   Declare that the Final Rule’s enforcement constitutes a violation of Article I, Section 10,

     Clause 1 of the U.S Constitution (Contracts Clause);

h)   Declare that Defendant ATF violated 5 U.S.C. § 522(a)(3)(A) by failing to provide a

     response to Firearm Policy Foundation’s FOIA request;

i)   Declare that the circumstances surrounding the withholding of the information raise

     questions as to whether agency personnel acted arbitrarily or capriciously with respect to

     the withholding;

j)   Order that Defendant ATF disclose the documents requested by Firearm Policy

     Foundation’s FOIA request, as well as those it was required to produce during the

     rulemaking process;

k)   Permanently enjoin Defendants, their officers, agents, servants, employees and all

     persons in active concert or participation with them from enforcing the Final Rule and all

     related laws, policies, and procedures that would impede or criminalize an individual’s

     exercise of their use, possession, sale, transfer, or other disposition of a bump-stock-type

     device, as the result of this new regulation;




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l)   In the alternative, declare that the Final Rule constitutes a taking under the Fifth

     Amendment and order that the Defendants pay just compensation to those affected;

m)   Award Plaintiff costs and attorney fees and expenses to the extent permitted under 5

     U.S.C. § 552(a)(4)(E)(i), 18 U.S.C. § 924, and 28 U.S.C. §§ 1920, 2412; and

n)   Grant any and all other equitable and/or legal remedies this Court may see fit.


                                               Respectfully Submitted,



                                               ________________________
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